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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:14-CR-00248-LJO-SKO

12                                Plaintiff,            PRELIMINARY ORDER OF FORFEITURE

13                         v.

14   JOSE FLORES,

15                               Defendant.

16

17          Based upon the plea agreement entered into between United States of America and defendant

18 Jose Flores, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.     Pursuant to 21 U.S.C. § 853, defendant Jose Flores’ interest in the following property

20 shall be condemned and forfeited to the United States of America, to be disposed of according to law:

21                 a. Approximately $3,250.00 in U.S. Currency,

22                 b. White Apple iPhone #A1384,

23                 c. Black Nokia cell phone,

24                 d. AT&T LG cell phone model #Z992,

25                 e. Black Verizon LG cell phone, and

26                 f. Miscellaneous cell phones – LG & Coolpad Flow

27          2.     The above-listed assets are property constituting, or derived from, any proceeds the

28 defendant obtained, directly or indirectly, or was property used, or intended to be used, in any manner or


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 1 part, to commit, or to facilitate the commission of a violation of 21 U.S.C. § 843(b).

 2          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

 3 seize the above-listed property. The aforementioned property shall be seized and held by the Homeland

 4 Security Investigations, Customs and Border Protection in its secure custody and control.

 5          4.      a. Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall publish

 6 notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 7 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

 8 posted for at least 30 consecutive days on the official internet government forfeiture site

 9 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice

10 to any person known to have alleged an interest in the property that is the subject of the order of

11 forfeiture as a substitute for published notice as to those persons so notified.

12                  b. This notice shall state that any person, other than the defendant, asserting a legal

13 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

14 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

15 within thirty (30) days from receipt of direct written notice, whichever is earlier.

16          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this

17 Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853, in which all interests will be

18 addressed.

19
     IT IS SO ORDERED.
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21      Dated:     September 28, 2015                           /s/ Lawrence J. O’Neill
                                                         UNITED STATES DISTRICT JUDGE
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